                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE


 AMERICAN SPIRIT AND CHEER ESSENTIALS,
 INC., ROCKSTAR CHAMPIONSHIPS, LLC, JEFF
 & CRAIG CHEER, LLC, d/b/a JEFF AND CRAIG
 CAMPS, and ASHLEY HAYGOOD, Individually
 and on Behalf of All Others Similarly Situated
                                                          Case No. 2:20-cv-02782-SHL-atc
               Plaintiffs,
        v.

 VARSITY BRANDS, LLC, BSN SPORTS, LLC,
 VARSITY SPIRIT, LLC, STANBURY, LLC,
 HERFF JONES, LLC, BAIN CAPITAL, LP,
 CHARLESBANK CAPITAL PARTNERS, LLC,
 VARSITY BRANDS HOLDING CO., INC.,
 VARSITY SPIRIT FASHION & SUPPLIES, LLC,
 U.S. ALL STAR FEDERATION, INC., USA
 FEDERATION FOR SPORT CHEERING, d/b/a
 USA CHEER, VARSITY INTROPA TOURS, LLC
 and JEFF WEBB,

               Defendants.


DEFENDANTS VARSITY BRANDS, LLC, BSN SPORTS, LLC, VARSITY SPIRIT, LLC,
    STANBURY UNIFORMS, LLC, HERFF JONES, LLC, BAIN CAPITAL, LP,
  CHARLESBANK CAPITAL PARTNERS, LLC, VARSITY SPIRIT FASHIONS &
SUPPLIES, LLC, VARSITY BRANDS HOLDING CO., INC., AND VARSITY INTROPA
                TOURS MOTION FOR PROTECTIVE ORDER

       Defendants Varsity Brands, LLC, BSN Sports, LLC, Varsity Spirit, LLC, Stanbury

Uniforms, LLC, Herff Jones, LLC, Bain Capital, LP, Charlesbank Capital Partners, LLC, Varsity

Brands Holding Co., Inc., Varsity Spirit Fashions & Supplies, LLC, and Varsity Intropa Tours

(collectively, the Moving Defendants), through their undersigned counsel, and pursuant to

Federal Rule of Civil Procedure 26(b), hereby move this Court to preclude discovery of the




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Moving Defendants related to products sold by BSN Sports, LLC, Stanbury Uniforms, LLC, and

Herff Jones, LLC, as well as all discovery from those entities.

        Pursuant to Local Rule 7.2(d), movants request oral argument because they believe it will

assist the Court in understanding the motion and the attendant issues and to answer any questions

the Court may have.

        WHEREFORE, for the reasons set forth in the Moving Defendants’ Memorandum of

Law in Support, filed contemporaneously herewith, the Moving Defendants respectfully request

that the Court preclude discovery of the Moving Defendants related to products sold by BSN

Sports, LLC, Stanbury Uniforms, LLC, and Herff Jones, LLC, as well as all discovery from

those entities.



Dated: March 12, 2021                        Respectfully submitted,

                                             /s Matthew S. Mulqueen
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                                             Alexis Collins*
                                             Steven J. Kaiser*
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Attorneys for Varsity Brands, LLC; BSN Sports,
LLC; Varsity Spirit, LLC; Stanbury Uniforms, LLC;
Herff Jones, LLC; Varsity Spirit Fashions &
Supplies, LLC; Varsity Intropa Tours




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                           CERTIFICATE OF CONSULTATION

       Counsel for the Moving Defendants certify that they consulted with counsel for Plaintiffs
regarding the relief sought in this motion via email between Steven J. Kaiser and Robert Falanga
between March 5 and March 8, 2021 and were unable to reach an accord as to the issues in this
motion.

                                            /s Matthew S. Mulqueen
                                            Matthew S. Mulqueen (TN #28418)




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